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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

JOHN DOE, M.D.,

      Plaintiff,
                                               Case No. 21-cv-13032
v.                                             Hon. Gershwin Drain
                                               Hon Mag. Judge Curtis Ivy, Jr
THE BOARD OF REGENTS OF THE
UNIVERSITY OF MICHIGAN, MARIE
LOZON, M.D., and JUSTIN DIMICK,
M.D., Individually,

      Defendants.
__________________________________________________________________
 MIDWEST LEGAL PARTNERS, PLLC        HALL, RENDER, KILLIAN, HEATH &
 By: Saif R. Kasmikha (P74320)       LYMAN, PC
 42705 Grand River Avenue, Suite 201 David A. French (P31944)
 Novi, MI 48375                      Jonathon A. Rabin (P57145)
 (248) 344-4570                      Larry R. Jensen (P60317)
 Attorneys for Plaintiff             Attorneys for Defendants
 skasmikha@midwestlegalpartners.com 101 W. Big Beaver Rd., Suite 745
                                     Troy, MI 48084
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  Ronald G. Acho (P23913)            ljensen@hallrender.com
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  Livonia, MI 48152
  (734) 261-2400
  Attorneys for Plaintiff
  racho@cmda-law.com
________________________________________________________________


        DEFENDANTS’ MOTION TO PERMIT SURREPLY TO
     MOVANT CHARLES BLACKWELL’S REPLY TO DEFENDANTS’
        REPONSE TO MOVANT’S MOTION TO INTERVENE
               AND UNSEAL JUDICIAL RECORDS
 Case 2:21-cv-13032-GAD-CI ECF No. 33, PageID.814 Filed 01/19/22 Page 2 of 9




      The undersigned certifies that he contacted Saif Kasmikha and Ronald
      Acho (both counsel for Plaintiff) by email on January 19, 2022 and
      explained the nature of the motion and its legal basis and requested but
      did not obtain concurrence in the relief sought.

      Defendants, by and through their attorneys, hereby move this Court pursuant

to LR 7.1(d)(1)(A), for an order authorizing them to file a Surreply to Movant

Charles Blackwell’s Reply to Defendants’ Response to Movant’s Motion To

Intervene And Unseal Judicial Records. This Motion rests on the following factual

and legal grounds:

      1.     Local Rule 7.1(d)(1)(A) gives this Court discretion to allow briefing in

addition to a motion, response and reply brief.

      2.     Non-Party and proposed intervenor Charles Blackwell has sought to

intervene in the instant case in order to request that this Court unseal certain records

which include records protected under Michigan law by a statutory peer review

privilege.

      3.     In a Reply brief, he argues that there is no federal common law privilege

of peer review.

      4.     In their proposed Surreply (attached as Ex. A), Defendants would

provide a brief explanation to this Court that, irrespective of federal common law,

this Court should recognize the rights and interests afforded by state law in the

interests of federal-state comity by keeping such documents sealed.

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      WHEREFORE, and for the foregoing reasons, Defendants respectfully

request that this Honorable Court grant this Motion, and enter an Order permitting

Defendants to file the Surreply to Movant Charles Blackwell’s Reply to Defendants’

Response to Movant’s Motion To Intervene And Unseal Judicial Records (a copy of

which is attached as Ex. A hereto).



                                Respectfully submitted,

                                HALL RENDER KILLIAN HEATH & LYMAN, PC

                                /s/ Jonathon A. Rabin
                                Jonathon A. Rabin (P57145)
                                Attorneys for Defendants
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                                jrabin@hallrender.com


Dated: January 19, 2022




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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

JOHN DOE, M.D.,

      Plaintiff,
                                               Case No. 21-cv-13032
v.                                             Hon. Gershwin Drain
                                               Hon Mag. Judge Curtis Ivy, Jr
THE BOARD OF REGENTS OF THE
UNIVERSITY OF MICHIGAN, MARIE
LOZON, M.D., and JUSTIN DIMICK,
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      Defendants.
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 MIDWEST LEGAL PARTNERS, PLLC        HALL, RENDER, KILLIAN, HEATH &
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  (734) 261-2400
  Attorneys for Plaintiff
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________________________________________________________________


      BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO PERMIT
     SURREPLY TO MOVANT CHARLES BLACKWELL’S REPLY TO
        DEFENDANTS’ REPONSE TO MOVANT’S MOTION TO
           INTERVENE AND UNSEAL JUDICIAL RECORDS
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         CONCISE STATEMENT OF THE ISSUE PRESENTED

 1. Should enter an order authorizing Defendants to file a Surreply Brief?

    Defendants answer “yes.”




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                CONTROLLING OR MOST APPROPRIATE
                  AUTHORITY FOR RELIEF SOUGHT

Rules

Local Rule 7.1(d)(1)(a) of the Eastern District of Michigan




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                               ARGUMENT

    In support of the instant Motion, Defendants rely upon LR 7.1(d)(1)(A).

                             Respectfully submitted,

                             HALL RENDER KILLIAN HEATH & LYMAN, PC

                             /s/ Jonathon A. Rabin
                             Jonathon A. Rabin (P57145)
                             Attorneys for Defendants
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                            CERTIFICATE OF SERVICE

         I hereby certify that on January 19, 2022, I electronically filed the foregoing

document and this Certificate of Service with the Clerk of the Court using the ECF

system, which will send notification of such filing to attorneys of record at their

registered e-mail addresses and will mail the same to Mr. Blackwell to the following

address:

         22655 Fairmont Dr.
         Apt. 102
         Farmington Hills, MI 48335
                                   /s/ Jonathon A. Rabin
                                   Jonathon A. Rabin (P57145)
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                                   Troy, MI 48084
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